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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

            v.                                    21-cr-694 (TNM)

BRANDON PRENZLIN

                     MOTION TO WITHDRAW AS COUNSEL

      Now Comes Court Appointed Counsel, Heather Shaner, who moves this
Honorable Court, to allow her to withdraw as counsel. In support of this Motion,
counsel states that competent retained counsel, Chris Macchiaroli and
Christopher Wiest have entered their appearance on behalf of defendant.


      Counsel has conferred with retained counsel Mr. Macchiaroli and AUSA
Fifield and has assured that all discovery will be provided to new counsel.


      WHEREFORE, Heather Shaner, moves this Court to permit her to withdraw
from representation as CJA counsel to Brandon Prenzlin.


                               Respectfully submitted,
                               __________/s______________________
                               H. Heather Shaner # 273276
                               Appointed by the Court for Brandon Prenzlin
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